                          DECISION OF DISMISSAL
Plaintiff filed its Complaint on November 9, 2010. A case management conference was held on March 9, 2010. The parties requested that the case be stayed pending certain legislation regarding multiple unit housing.
On March 10, 2010, John S. Thomas (Thomas), Deputy County Attorney, notified the court that the pending legislation had been signed by the governor and would take effect on May 27, 2010. In that letter, Thomas "suggeste[ed] * * * cases be pended until roll corrections and appropriate refunds have been made, all of which should be completed by mid-June 2010. At that time, [Defendants] expect that the appellants will elect to withdraw their appeals." (Def. County's Ltr at 2, Mar 10, 2010.) Thomas acknowledged he had not conferred with the parties but that he "presume[d] if any party ha[d] a different view, that view [would] be made known to the court." (Id.) Jane Olberding, representative for Plaintiff, received a copy of that letter.
On July 23, 2010, the court issued a Journal Entry, stating that the court had had no further communication from Plaintiff or its representative. The court stated that if Plaintiff did not respond by August 6, 2010, the appeal would be dismissed for lack of prosecution. *Page 2 
As of this date, the court has had no further communication from Plaintiff. Having considered the matter, the court has determined that the appeal shall be dismissed for lack of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter be dismissed.
Dated this ___ day of August 2010.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the date ofthe Decision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Jeffrey S. Mattsonon August 13, 2010. The Court filed and entered this documenton August 13, 2010.